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  From: David Schwartz <DSchwartz@hawkeyefla.com>
  Date: Fri, 27 Mar 2020 14:48:19 +0000
  Subject: Reasonable Accommodation Request
  To: Sanne Unger <sanne.majorca@gmail.com>, "SAMA59@GMAIL.COM" <SAMA59@gmail.com>
  Cc: Tara Scott <tara@taraleighscott.com>, "Daniel Johnson, Secretary"
  <magansbay2@gmail.com>

  Good Morning:

  At this time, the board of directors does not record audio or video of the Board meetings. This is not
  normal practice for the board meetings. If and when you are able to attend the Board meetings, you are
  able to record the Board meetings. I believe the location of the meetings which are held at Sugar Sand
  Park is ADA compliant. If you are not able to attend the meetings, you may designate a set
  representative by power of attorney to attend the meetings for you and then that person may record or
  take notes as necessary of the Board meeting.

  The only transcripts which are available are the approved meeting minutes from the previous meeting.
  A website is being developed, once that is up and running, you will be able to have access to the
  community information easily. In the meantime, when the community information is available, we will
  email you a copy.

  Should you have any additional questions please let me know.


  Thank you,

  David Schwartz, LCAM

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                                            Exhibit B
